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                   13                                                 Attorneys for Defendants
                                                                      National Association of REALTORS® and
                   14                                                 San Francisco Association of REALTORS®
                   15
                                                       UNITED STATES DISTRICT COURT
                   16
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   17
                                                          SAN FRANCISCO DIVISION
                   18

                   19   TOP AGENT NETWORK, INC.,                       Case No. 3:20-cv-03198-VC

                   20                     Plaintiff,                   JOINT CASE MANAGEMENT STATEMENT

                   21          v.                                      DATE: AUGUST 30, 2024
                                                                       TIME: 10:00 A.M.
                   22   NATIONAL ASSOCIATION OF REALTORS               LOCATION: SAN FRANCISCO COURTHOUSE,
                        and SAN FRANCISCO ASSOCIATION OF                         COURTROOM 4 – 17TH FLOOR
                   23   REALTORS,
                                                                       COMPLAINT FILED: MAY 11, 2020
                   24                     Defendants.
                                                                       HON. JUDGE VINCE CHHABRIA
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                                                                                                JOINT STATUS REPORT
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                    1              Pursuant to the Court’s Order (Dkt. 101) and ADR Deadlines, Fed. R. Civ. P. 26, and Civil
                    2   L.R. 16-9, Plaintiff Top Agent Network, Inc. (“TAN” or “Plaintiff”) and Defendants San Francisco
                    3   Association of REALTORS® (“SFAR”) and National Association of REALTORS® (“NAR”)
                    4   (collectively with TAN, the “Parties”) have conferred and respectfully submit this Joint Case
                    5   Management Statement. The Parties certify that their respective lead trial counsel have met and
                    6   conferred for the preparation of this statement as required by Civil L.R. 16-3.
                    7         I.      JURISDICTION & SERVICE
                    8   This Court has subject matter jurisdiction under 28 U.S.C. § 1337 (commerce and antitrust
                    9   regulation) and 28 U.S.C. § 1331 (federal question), as this action arises under Section 1 of the
                   10   Sherman Act, 15 U.S.C. § 1.
                   11              There are no present disputes relating to venue or jurisdiction, and all parties have been
                   12   served.
                   13        II.      FACTS
                   14              This action arises from the NAR’s adoption of a rule, called the Clear Cooperation Policy
                   15   (“CCP”), which provides “Within one (1) business day of marketing a property to the public, the
                   16   listing broker must submit the listing to the MLS for cooperation with other MLS participants.”
                   17   TAN alleges that the CCP is an anticompetitive restraint that has caused TAN injury. Defendants
                   18   deny this.
                   19              The principle factual issues include the impact of the CCP in relevant markets, including
                   20   any injury to competition; the impact of the CCP on TAN’s revenues and ability to compete; and
                   21   whether the CCP is subject to procompetitive justifications.
                   22       III.      LEGAL ISSUES
                   23              The Parties dispute whether the allegations of TAN’s Third Amended Complaint state a
                   24   valid claim for relief under the Sherman Act, including in particular whether the allegations are
                   25   accurate, complete, or sufficient to support a finding of antitrust injury and anticompetitive
                   26   behavior by NAR.
                   27       IV.       MOTIONS
                   28              There are no pending motions.
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                    1        V.      AMENDMENT OF PLEADINGS
                    2             Each party reserves the right to move to amend its pleadings as permitted under the Federal
                    3   Rules of Civil Procedure.
                    4       VI.      EVIDENCE PRESERVATION
                    5             The Parties certify that they have reviewed the Guidelines Relating to the Discovery of
                    6   Electronically Stored Information (“ESI Guidelines”), and confirm that they have met and
                    7   conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to
                    8   preserve evidence relevant to the issues reasonably evident in this action.
                    9      VII.      DISCLOSURES
                   10             No initial disclosures have been exchanged.
                   11             Plaintiff proposes initial disclosures be exchanged on September 30, 2024.
                   12             Defendants propose initial disclosures to be exchanged on September 30, 2024.
                   13     VIII.      DISCOVERY
                   14             Plaintiff has served a Rule 30(b)(6) deposition notice on Defendant.
                   15             The Parties do not presently have any disputes related to privilege. The Parties have not yet
                   16   met or conferred regarding a stipulated proposed protective order. The Parties have not yet met or
                   17   conferred regarding a proposed discovery plan.
                   18             The Parties do not have any discovery disputes ripe for submission to the Court at this time.
                   19   To the extent any discovery disputes arise, the Parties will address such disputes in accordance with
                   20   the governing federal and local rules, and pursuant to any orders issued by the Court.
                   21       IX.      CLASS ACTIONS
                   22             This is not a class action lawsuit.
                   23        X.      RELATED CASES
                   24             There are no related cases. However, while not a related case, the matter PLS.Com, LLC v.
                   25   National Association of Realtors, et al., No. 2:20-cv-04790-JWH-RAO (C.D. Cal.) also involves a
                   26   plaintiff raising antitrust allegations against NAR (and others) relating to the CCP.
                   27       XI.      RELIEF
                   28             Plaintiff seeks injunctive relief rescinding or modifying the CCP. Plaintiff also seeks
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                    1   monetary damages, to be trebled under the Sherman Act, equal to its lost potential revenue resulting
                    2   from promulgation of the CCP. Defendants deny Plaintiff is entitled to any relief.
                    3       XII.      SETTLEMENT AND ADR
                    4             The Parties are open to discussion of settlement. Plaintiff is open to considering methods
                    5   for alternative dispute resolution. Defendants are open to considering methods for alternative
                    6   dispute resolution after the Court resolves dispositive motions.
                    7     XIII.       CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
                    8             The Parties have not consented to having a Magistrate Judge conduct all further proceedings
                    9   including trial and entry of judgment.
                   10     XIV.        OTHER REFERENCES
                   11             The Parties do not believe that special procedures, such as a reference to binding arbitration,
                   12   a special master, or the Judicial Panel on Multidistrict Litigation, are warranted at this time.
                   13       XV.       NARROWING OF ISSUES
                   14             The Parties are not aware of any issues for narrowing at this time.
                   15     XVI.        EXPEDITED TRIAL PROCEDURE
                   16             The Parties do not believe this case is appropriate for an expedited schedule through the
                   17   procedures set forth by General Order No. 64.
                   18    XVII.        SCHEDULING
                   19             Plaintiff’s proposed schedule is attached as Exhibit A. Defendants’ proposed schedule is
                   20   attached as Exhibit B.
                   21   XVIII.        TRIAL
                   22             Plaintiff has requested trial before a jury. Plaintiff estimates that trial will last approximately
                   23   10 days. Defendants believe it is too early in this litigation to provide an estimate on the length of
                   24   trial.
                   25     XIX.        DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
                   26             Each party has filed the “Certification of Interested Entities or Persons” required by Civil
                   27   Local Rule 3-15.
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                    1      XX.      PROFESSIONAL CONDUCT
                    2            All attorneys of record for the Parties have reviewed the Guidelines for Professional
                    3   Conduct for the Northern District of California.
                    4     XXI.      OTHER
                    5            None.
                    6
                        Dated: August 30, 2024                             LEWIS & LLEWELLYN LLP
                    7

                    8
                                                                    By: /s/ Tobias G. Snyder
                    9                                                  Paul T. Llewellyn
                                                                       Tobias G. Snyder
                   10
                                                                           Attorneys for Plaintiff
                   11                                                      Top Agent Network, Inc.
                   12   Dated: August 30, 2024                             COOLEY LLP
                   13

                   14                                               By: /s/ Ethan Glass
                                                                       Ethan Glass (Bar No. 216159)
                   15                                                  Beatriz Meija (Bar No. 190948)
                                                                       Samantha A. Strauss (Bar No. 301406)
                   16                                                  Georgina Inglis (admitted pro hac vice)
                   17                                                      Attorneys for Defendants
                                                                           National Association of REALTORS® and
                   18                                                      San Francisco Association of REALTORS®
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                    1                                    SIGNATURE ATTESTATION
                    2          Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this

                    3   joint case management statement has been obtained from each signatory herein.

                    4   Dated: August 30, 2024                       By: /s/ Ethan Glass
                                                                        Ethan Glass
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                    1                             EXHIBIT A – Plaintiff’s Proposed Schedule
                    2   Event                                            Proposed Date
                    3
                        Initial Disclosures                              September 30, 2024
                    4

                    5   Fact Discovery Cutoff                            February 28, 2025
                    6
                        Opening Expert Reports                           March 12, 2025
                    7

                    8   Rebuttal Expert Reports                          May 30, 2025
                    9
                        Expert Discovery Cutoff                          June 27, 2025
                   10

                   11   MSJ and Daubert Motions Due                      July 11, 2025
                   12

                   13   Last Day to Hear MSJ, Daubert Motions            August 22, 2025

                   14
                        Joint Pre-Trial Statement                        September 3, 2025
                   15

                   16   Final Pre-Trial Conference                       October 10, 2025

                   17
                        Trial                                            November 3, 2025
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                    1                           EXHIBIT B – Defendants’ Proposed Schedule
                    2   Event                                           Proposed Date
                    3
                        Initial Disclosures                             September 30, 2024
                    4

                    5   Fact Discovery Cutoff                           April 11, 2025
                    6
                        Opening Expert Reports                          May 12, 2025
                    7

                    8   Rebuttal Expert Reports                         July 14, 2025
                    9
                        Expert Discovery Cutoff                         August 15, 2025
                   10

                   11   MSJ and Daubert Motions Due                     September 14, 2025
                   12

                   13   Last Day to Hear MSJ, Daubert Motions           November 11, 2025

                   14
                        Joint Pre-Trial Statement                       January 10, 2026
                   15

                   16   Final Pre-Trial Conference                      February 6, 2026

                   17
                        Trial                                           February 20, 2026
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